 Case 4:16-cv-00166-WMA-JEO Document 1 Filed 01/29/16 Page 1 of 7                                           FILED
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                       Case 4:16-cv-00166-WMA-JEO Document 1 Filed 01/29/16 Page 6 of 7
                                                     Alabama Department of Corrections                                                         DISC001
                                                         DISCIPLINARY REPORT
                                                                          403A (1-4)

Incident Report Number:         SCCF-16-00024

1. Inmate:           RIVERS, TERRY                                            Custody:      MEDIUM                            AIS: 00110046X

2. Institution:      ST.CLAIR CORRECTIONAL FAC.                                                                         Disc #: SCCF-16-00024-1
3. The above inmate is being charged by:                            Jumper, Nurse Susan
     with a violation of the following Rule(s):
     902 - Assault on a Person(s) associated with ADOC
     From Administrative Regulation #403. which occured on or about:
            Jan 42016 9:30AM at Infirmary

     A hearing on this charge will be held after 24 hours from being served.
4. Circumstances of the violation(s) are as follows:
     You inmate Terry River 81M 110046 did assault Nurse Susan Jumper when you stroke Nurse Jumper in the back.

     01/04/2016                                                     Jumper, Nurse Susan I Other
     Date                                                           Arresting Officer Name I Title

5. I hereby certify that on this   <1   day of--f:),N1.J.jlK   ,20...1.1-. at (time) '::;-,'          ;:5
                                                                                                  (am rPm"}, I have personally
served a copy of the foregoing upon the above named inm te and I have informed the inmate of his/her rigftH6'present oral or
written statement at the hearing and to present written qu stions for the witnesses.


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6. Witnesses desired?                NO:    ~rv>&c         +-.,.,    S19 /J    ll-l~,l               YES: _ _ _ _ _ _ _ _ _ _ _ _ __
                                           Inmate's Signature                                            Inmate's Signature

7. If yes, list:     AIS:                              NAME:
                   ---------------------------------------------------------------------------------------
                   AIS:                    NAME:
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Run Date: 1/8/20164:50:08 PM                                                                                                               PaQe 1 of 1
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